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 Attorneys for Plaintiff Bayer HealthCare Pharmaceuticals Inc.



                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

                                          :
 IN RE BIOGEN ’755 PATENT                 : Civil Action No. 10-cv-02734 (CCC)
 LITIGATION                               : (JBC) (consolidated)
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                                          :
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         BAYER HEALTHCARE PHARMACEUTICALS INC.’S
     MOTION FOR SUMMARY JUDGMENT OF INVALIDITY No. 1 —
            OBVIOUSNESS-TYPE DOUBLE PATENTING
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       TO: ALL COUNSEL IN THE CAPTIONED MATTERS:

              PLEASE TAKE NOTICE that on May 3, 2017, attorneys for

 Defendant Bayer HealthCare Pharmaceuticals, Inc. (“Bayer”) shall move before

 the Honorable Claire Cecchi, U.S.D.J., for an Order, pursuant to Rule 56 of the

 Federal Rules of Civil Procedure, granting summary judgment that claim 1 of

 United States Patent No. 7,588,755 is invalid and that Bayer is thus entitled to

 entry of final judgment in its favor as to all claims and counterclaims.

              PLEASE TAKE FURTHER NOTICE that in support of this

 motion, Bayer respectfully submits an accompanying Memorandum of Law;

 Statement of Undisputed Material Facts; Declaration of Seth Bowers dated

 February 3, 2017; and the exhibits included therewith. Bayer has also submitted

 the Declaration of Dr. Jeffrey V. Ravetch in support of this and other motions for

 summary judgment. A proposed Order is also submitted herewith.



  Dated: February 3, 2017          By: /s/ Robert M. Goodman
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                                   Of Counsel:

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                CERTIFICATION OF FILING AND SERVICE

       ROBERT M. GOODMAN hereby certifies as follows:

    1. I am an Attorney-at-Law of the State of New Jersey and a partner of the law
       firm of Greenbaum, Rowe, Smith & Davis LLP, attorneys for Bayer
       Healthcare Pharmaceuticals Inc. (“Bayer”) in the above matter.

    2. On the date indicated below, I caused to be e-filed the Notice of Motion,
       Memorandum of Law, Statement of Undisputed Facts, Declaration of Seth
       R. Bowers and Declaration of Jeffrey V. Ravetch in support of Bayer’s
       motion for summary judgment No. 1.

    3. On the date indicated below, I caused the above referenced documents to be
       served on counsel of record via the ECF system. The above referenced
       documents were also e-mailed to counsel of record on the same date.

    4. I certify that the foregoing statements made by me are true to the best of my
       knowledge and belief. I am aware that if any of the foregoing statements
       made by me are willfully false, I am subject to punishment.


                                             /s/ Robert M.Goodman
                                             ROBERT M. GOODMAN
 DATED: February 3, 2017
